  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1336

                    RONALD L'HEUREUX,

                  Plaintiff, Appellant,

                            v.

                   LEO ASHTON, ET AL.,

                  Defendants, Appellees.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF RHODE ISLAND

      [Hon. Ronald R. Lagueux, U.S. District Judge]

                          Before

                 Torruella, Chief Judge,
           Boudin and Lipez, Circuit Judges.

 Ronald L'Heureux on brief pro se.
 Jeffrey B. Pine, Attorney General and Elisabeth A. Wallace,
Special Assistant Attorney General, on Motion to Dismiss Appeal or
to Summarily Affirm the Judgment Below and Memorandum in Support,
for appellees.

October 13, 1998

        Per Curiam.  Upon careful consideration of
plaintiff's brief and defendants' motion to dismiss this
appeal, and de novo review of the record, we conclude that the
district court did not err in granting summary judgment for
defendants and in refusing to exercise pendent jurisdiction. 
We reach this conclusion for the following reasons:
          1.   As to the first amendment claims, even to the
extent that plaintiff may have had some constitutional right to
act as a jailhouse lawyer for other inmates, any such right was
not unfettered:  "plaintiff in this case is a prisoner and
unlike an ordinary citizen, his associational rights may be
permissibly restricted by prison authorities because of the
institutional need to maintain order."  Rizzo v. Dawson, 778
F.2d 527, 531-32 (9th Cir. 1985).  Such restriction is "valid
if it is reasonably related to legitimate penological
interests."  Turner v. Safley, 482 U.S. 78, 89-90 (1987). 
Here, defendants presented sufficient justification for the
subject restrictions, the substance of which plaintiff failed
to refute as required under Fed. R. Civ. P. 56(e).  Thus, as
far as the record shows, the regulations violated by plaintiff
and the resulting disciplinary actions did not unreasonably
impinge on his first amendment rights.  Accordingly, summary
judgment for defendants on the first amendment claims was
warranted.  
          2.   As to plaintiff's due process claims, the
disciplinary  segregatio  imposed was not such an atypical, 
                            -2-
significant deprivation as would create a liberty interest
subject to constitutional due process protection.  See Sandinv. Conner, 515 U.S. 472, 485-86 (1995).  Further, plaintiff's
claims regarding loss of good time credits were not cognizable
in this  1983 action.  See Edwards v. Balisok, 117 S.Ct. 1584,
1588-89 (1997).  Because, under Sandin and Balisok, neither of
plaintiff's disciplinary proceedings raised due process claims
cognizable in this federal action, there was no call to
consider plaintiff's additional arguments that the proceedings
violated various consent decrees and other state laws and
regulations.  Accordingly, summary judgment for defendants on
the due process claims was appropriate, and the district court
properly declined to exercise jurisdiction over plaintiff's
state law claims. 
          3.   Defendants' conduct in disciplining plaintiff,
even if not unconstitutional, still might have been actionable
if it was done in retaliation for plaintiff's exercise of
constitutionally protected rights.  See Ferranti v. Moran, 618
F.2d 888 892 n.4 (1st Cir. 1980).  To succeed on such a
retaliation claim, plaintiff must prove that the action would
not have been taken "but for" the alleged improper reason. 
McDonald v. Hall, 610 F.2d 16, 18 (1st Cir. 1979).  Conclusory
allegations are not sufficient.  See Leonardo v. Moran, 611
F.2d 397, 398 (1st Cir. 1979).  Here, plaintiff's allegations
of a retaliatory conspiracy remained vague and conclusory, and
those allegations did not establish a "but for" connection
between the disciplinary proceedings and the alleged
retaliatory motive.  Therefore, on the record here, summary
judgment for defendants on the retaliation claims also was
proper.  See McDonald, 610 F.2d at 18-19.
          4.   Further, we agree with the district court that
all defendants were entitled to qualified immunity as to the
damage claims.  And we note that the state Department of
Corrections was not a party to the district court action or to
this appeal, so that plaintiff's claims for injunctive relief
against the state DOC have no merit whatsoever.
          5.   To the extent that the additional arguments and
claims raised in plaintiff's brief are cognizable at all in
this appeal, they are meritless.
          Affirmed.  See 1st Cir. Loc. R. 27.1.
